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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

CHRISTOPHER EVERETT
ADC #152664                                                                         PLAINTIFF

v.                            Case No. 3:20-cv-00256-KGB-JJV

HUNT, Sergeant, NCU, et al.                                                     DEFENDANTS

                                            ORDER

       The Court has reviewed the proposed findings and recommendations submitted by United

States Magistrate Judge Joe J. Volpe (Dkt. No. 5). Plaintiff Christopher Everett has not objected,

and the time for filing objections has passed. After careful review, the Court adopts the proposed

findings and recommendations as its findings in all respects.

       Therefore, Mr. Everett may proceed with his excessive force, sexual assault, and failure to

protect claims against defendants Hunt, Droz, Labouf, Jackson, and Payne in their individual

capacities only. Mr. Everett’s official capacity claims seeking monetary relief only are dismissed

with prejudice, and all other claims raised in the amended complaint (Dkt. No. 4) are dismissed

without prejudice. It is certified that an in forma pauperis appeal from this Order would not be

taken in good faith. 28 U.S.C. § 1915(a)(3).

       So ordered this 21st day of October, 2020.



                                                     __________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
